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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    :
                                            :
       v.                                   :         Case No. 21-CR-507 (PLF)
                                            :
                                            :
STEPHANIE MARYLOU BAEZ                      :
                                            :
       Defendant.                           :

                                  JOINT STATUS REPORT

       The United States of America, through counsel, and defendant Stephanie Marylou Baez,

through counsel, hereby submit this April 5, 2023, Joint Status Report pursuant to the Court’s

March 22, 2023, Second Amended Scheduling Order and state as follows:

   1. The defendant in this case is charged by a four-count Information with violations of

18 U.S.C. § 1752(a)(1) (Entering and Remaining in a Restricted Building); 18 U.S.C. § 1752(a)(2)

(Disorderly and Disruptive Conduct in a Restricted Building); 40 U.S.C. § 5104(e)(2)(D) (Violent

Entry and Disorderly Conduct in a Capitol Building); and 40 U.S.C. § 5104(e)(2)(G) (Parading,

Demonstrating, or Picketing in a Capitol Building).

   2. Pursuant to the Second Amended Scheduling Order, the parties propose the following dates

in April and May 2023 for the pretrial motions hearing on the defendant’s two motions to dismiss:

   •   May 1-2
   •   April 24-26, April 28
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      Respectfully submitted,


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